                 Case: 1:24-cv-01861-DAP
                                   IIIIIIII IIIIII Ill lllllDoc          #:lllll36-6
                                                            lllll l l l lllll    lllll lllll l lFiled:
                                                                                                l lllll lllll lllll05/16/25
                                                                                                                   l l llll 1 of 3. PageID #: 352
                                                   Doc ID: 023720130003 Type: OFF
                                                   Kind: DEEDS
                                                   Recorded: 10/26/2022 at 11:48:08 AM
                                                   Fee Amt: $0.00 Paqe 1 of 3
                                                   Lorain County, Ohio
                CERTIFIED                          Mike Doran County Recorder
                  COPY                             F1le2022-0896481
                 AUG 1 O2022
                                                                                                          2022 :-:~·~ - \J p 2: 08
                TOM ORLANDO
                CLERK   or COURTS                 IN THE COURT OF COMMON PLEAS_ .· , .          l L.L,,.)                    1.   :



                 LORAIN COUNTY                         LORAIN COUNTY, OHIO cou,; 1lo:M L0~l ~NGO
                                                                                 1         1




                                                                               )
               LORAIN COUNTY TREASURER,                                        )             CASE NO. 22TX007883
                                                                               )
                                      PLAINTIFF                                )
                                                                                             JUDGE RAYMOND J. EWERS
                                                                               )
                          vs.                                                  )
                                                                                             JUDGMENT ENTRY OF FORFEITURE
                                                                               )
                                                                               )             OF REAL ESTATE TO THE
               INES NIEVES KNA INES PERES,                                     )             ST ATE OF OHIO
               ETAL                                                            )
                                                                               )
                                                                               )
                                                                                             BOOKKEEPING 30 DAY
                                      DEFENDANTS
                                                                               )


                   Pursuant to Section 5723.01 of the Ohio Revised Code, it is hereby Ordered, Adjudged and
           Decreed that the premises described below be and the same is hereby forfeited to the State of Ohio
           and that all right, title, claim and interest of the parties in said real estate is transferred to and vested
           in the State of Ohio, with the real estate to be sold pursuant to Chapter 5 723 of the Ohio Revised
           Code. It is further ordered that ce1tified copies of this Judgment Entry shall be sent to the Lorain
           County Auditor, and the Lorain County Treasurer, and the Lorain County Prosecutor.
                                                                      DESCRIPTION

                      SEE LEGAL DESCRIPTION ATTACHED HERETO AS EXHIBIT "A"

                   Permanent Parcel No.                             02-01-003-203-008

                   Commonly known as:                               125 West 29th St., Lorain, OH 44055

                   Prior Deed References:                           Instrument No. 20060140961 of Lorain County Records.




                             IHEREBY CERTIFYTHIS TO BEA TRUE COPY
                                                                          JUDGE RAYMOND J. EWERS
                             OFTNEORIG!
                             TOM
                             CLE
                                                                                                                 TRANSFERRED
                                                                                                                INCOMPUM!f:f WITIJ ~FC 319~?02
                              BY__:!~__.u.,_.,-_...,,Lr
                                                                                                                      OHIO REV CODE         •
                                                                                                                        OCT 2 6 202l
                                                                                                        J. CRAIG SNODGRASS, CPA, ccr:•r.1
                                                                                                                  LO~AIN COUNTY A~o 1 :. <

File Number: 20220896481               Page 1 of 3
               Case: 1:24-cv-01861-DAP Doc #: 36-6 Filed: 05/16/25 2 of 3. PageID #: 353
                             CERTIFIED
                                    COPY

                                All(; 1 Q 2021
                                ffl~ ORLANDO
                                CLERK OF COURTS
                                 LORAIN COUNTY
          APPROVED BY:
          J.D. TOMLINSON
          Prosecuting Attorney
          L~o/1 County, Ohio

          ~I\;    r-...._,,"'
          KA THERINE L. KEEFER ( .088096)
          Attorney for Lorain County Treasurer


          INSTRUCTIONS TO THE CLERK: THIS IS A FINAL APPEALABLE ORDER.
          Pursuant to Civ.R.58(B), you are to serve notice of this judgment and its date of
          entry upon the journal to all parties not in default for failure to appear within three
          days of the of the Judgment's entry upon the journal and note the service in the
          appearance docket.




File Number: 20220896481        Page 2 of 3
                     Case: 1:24-cv-01861-DAP Doc #: 36-6 Filed: 05/16/25 3 of 3. PageID #: 354

                                            CERTIFIED
                                                                       SCHEDULE A
                                              COPY

    Description of Land                         b.UG 1 0 2022
                                            TOMORLANDQ
   Situated in the City of Lorain, County ofd::ooM.imd~fsOhio: And known as being Sublot No. 43 in Morehouse and Foster's Subdivision, of part
   of Original Black River Township Lot No.13:l,f'f%'St~l$1shown by the recorded plat in Volume 4, Page 27 of Lorain County Records, and being a
   parcel of land 50 feet front on the Southerly side of A!len Avenue, now known as Wes! 29th Street, and extending back of equal width 132.92 feet, as
   appears by said plat, be the same more or less.
   Permanent Parcel No. 02-01-003-203-008

   Commonly known as 125 West 29th Street, Lorain, Ohio 44055




                                                    Legal d sen tion reviewe.; Ly_~.::.......---:-:-
                                                     or, ~ '7_ '7_1- per ORC, Section 5713 .09


                                                                                           rJ J1,J,tt.J_
                                                       L1PdllQ111(8¥ieWed by......;vv,;..,_....~ - -
                                                                   !
                                                       on ID 7, c;ffZ ~ ORC. Section 5713.09




                                                                                                            LORAIN COUNTY AUDITOR
                                                                                                            226 MIDDLE AVE
                                                                       •.. •EXHIBIT                         2ND FLOOR
                                                               I &                                          ELYRIA, OH 44035

                                                               I
   ORT Form 4276 A & B

      R 09101/2014
   ., 1




File Number: 20220896481                 Page 3 of 3
